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                     Exhibit E
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                                DECLARATION OF PAUL MOKE

       Now comes declarant Paul Moke, having been first duly cautioned and sworn, deposes and

states as follows:

       1.      I am over the age of 18 and fully competent to testify to the statements and facts

contained herein, and I have personal knowledge of all of them.

       2.      I am a resident and elector of the State of Ohio.

       3.      I feel very passionately about the issue of voting rights, especially expanding access

to the ballot. As a faculty member at Wilmington College, I’ve taught courses in political science

and criminal justice since the mid-1980s, where I frequently cover subjects related to constitutional

law and political problems generally, and voting rights in particular. In addition, I have periodically

taught courses at University of Dayton School of Law on such topics as spoiled ballots.

       4.      I am also an attorney, and I’ve maintained an active pro bono legal practice in the

areas of voting and election rights cases over at least the past ten to fifteen years. For example,

I’ve worked on a challenge to partisan gerrymandering, a challenge against punch-card ballots,

and litigation designed to expand early voting access in Ohio.

       5.      I am very familiar with the subject matter of the proposed “Secure and Fair

Elections Amendment” to the Ohio Constitution that is being advanced by Ohioans for Secure and

Fair Elections (the “Proposed Amendment”), and have been closely tracking its progress for the

past few months.

       6.      I enthusiastically support the Proposed Amendment, and until the COVID-19

epidemic, I had planned to volunteer as a petition circulator for it. I hoped to gather as many

signatures as I possibly could in order to help the Proposed Amendment get onto the November 3,

2020 general election ballot.



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       7.         I had planned out multiple strategies for gathering signatures. For example:

             a.      I’ve worked in the past with the leaders of several predominantly African-

                     American churches in the Dayton area, and had hoped to gather signatures from

                     among their congregants.

             b.      At the University of Dayton, I’ve done panel presentations for interested

                     students in the past on the subject of voting rights, and I had planned to do

                     something similar here: gathering a large number of students, educating them

                     on the voting issues related to the Proposed Amendment, and obtaining their

                     signatures.

             c.      I also planned to have face-to-face meetings with any number of friends,

                     colleagues, and other acquaintances, to obtain their signatures.

       8.         In addition to obtaining signatures by each of the methods described above, I had

planned to use the same methods to recruit more volunteer petition circulators. Over the years, I

have developed a good network of people in the Dayton area who share my passion for voting

rights, and I would have worked to recruit additional signature-gatherers that way.

       9.         Since at least early February of 2020, I have been aware that there is a highly

contagious infectious disease, COVID-19, caused by a coronavirus, that has spread across many

parts of the world, including Ohio.

       10.        I have generally kept abreast of the warnings and recommendations issued by the

Centers for Disease Control and Prevention (CDC), the Ohio Department of Health (ODH), and

others, including their recommendations regarding social distancing, maintaining a 6-foot distance

from others, and avoiding large gatherings. I routinely listen to public radio on the local NPR




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affiliates, and watch CNN coverage. I have been closely following Governor DeWine’s and

Director Acton’s daily reports and directives as the COVID-19 crisis has unfolded.

       11.        I am also aware that certain subgroups are at greater risk of serious illness from the

coronavirus. I fall into at least two of those subgroups:

             a.      I am 66 years old, and it is my understanding that people in my age range are at

                     greater risk.

             b.      I have chronic respiratory illness. I have asthma, and I also suffer from a fungal

                     infection of my lungs, as a result of past exposure to soil, a condition that can

                     lead to periodic bouts of coughing. It is my understanding that people who have

                     chronic respiratory conditions like me are at greater risk.

       12.        I recall exactly when I first became extremely concerned about the coronavirus. On

March 11, 2020, I was in Iowa City, and the University of Iowa was closed down. That served as

a stark warning that left me shaken. That is when I truly realized the extreme seriousness of the

situation, including the danger to me.

       13.        Nearly all in-person presence and functions at Wilmington College are shut down.

I had been teaching two in-person classes at Wilmington, but both have shifted to online teaching

as a result of COVID-19. I’m redesigning those courses mid-semester so that I can teach them

online. I have no in-person contact with my students or colleagues.

       14.        I am also carefully observing social distancing practices. My household consists of

my wife and myself. Our son and daughter are grown and both live in the central-to-southern Ohio

area, but I am avoiding any in-person contact with both of them because of COVID-19. This is

especially important to me because my son’s wife is essential medical staff at a hospital, and I

want to ensure that no one is put at risk, including her or me.



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           15.   On rare occasions, I have left the house for essential items such as groceries or

medications, or to exercise. When I, rather than my wife, have gone to the store, I do so very early

in the day so that things aren’t busy. I exercise by riding my bicycle; previously I had also gone to

a public gym or swimming pool, but I can no longer do that.

           16.   Because I am at increased risk for serious illness if I contract COVID-19, and

because I also do not want to risk spreading the disease generally, I am very careful to maintain a

safe distance from anyone outside my household. Certainly I am avoiding any public gatherings

for the foreseeable future, and as much as possible will avoid going to any business or public

accommodations.

           17.   Based on what I know of COVID-19 from sources such as news, the CDC, ODH,

and others, I am afraid that the face-to-face contact with others that is necessary to serve as a

petition circulator would present an undue risk of being exposed, and potentially suffering serious

illness.

           18.   I believe that social distancing measures are necessary, as numerous public officials

have advised, not only to protect my own health but to help reduce the spread and impact of the

disease by “flattening the curve.” I believe it is my moral obligation to others to do my part to

contain this pandemic, including by staying home and avoiding all unnecessary face-to-face

contact.

           19.   Accordingly, I anticipate that I will be unable to serve as a volunteer petition

circulator for the Proposed Amendment, though I still desire to. It is impossible for me to do so

without creating an undue risk to my health, and risking harming others by contributing to the

spread of the coronavirus.




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       20.      Were I provided with the means to circulate the petition electronically, remotely,

sign by proxy, or obtain signatures by some other means that would not present a risk to my and

others’ health, I would do so. However, I anticipate that contacting people individually and

arranging electronic signatures would be significantly less efficient than face-to-face circulation at

large public gatherings, such as the churches or panel discussions described above. Most likely, I

would obtain far fewer signatures at much greater cost of time and effort.


         I declare under penalty of perjury that the foregoing is true and accurate.

Executed on April 29, 2020

/s/ Paul Moke

Paul Moke

       I, Elizabeth M. Bonham, certify that I reviewed the information contained in this

declaration with Paul Moke by telephone on March 28, 2020, and that at that time, she certified

that the information contained in this declaration was true and accurate to the best of her

knowledge.

Executed on April 29, 2020.

                                               ________________________
                                               Elizabeth M. Bonham
                                               American Civil Liberties Union Foundation of Ohio
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                                               Cleveland, OH 44103
                                               (614) 568-1958
                                               ebonham@acluohio.org




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